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                  United States Court of Appeals
                               For the First Circuit

      No. 19-1802

                  CITY OF PROVIDENCE and CITY OF CENTRAL FALLS,

                               Plaintiffs, Appellees,

                                           v.

          WILLIAM P. BARR, in his official capacity as United States
        Attorney General, and the UNITED STATES DEPARTMENT OF JUSTICE,

                              Defendants, Appellants.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

                [Hon. John J. McConnell, Jr., U.S. District Judge]


                                        Before

                               Barron, Circuit Judge,
                            Souter,* Associate Justice,
                             and Selya, Circuit Judge.


           Brian H. Pandya, Deputy Associate Attorney General, Civil
      Division, U.S. Department of Justice, with whom Joseph H. Hunt,
      Assistant Attorney General, Aaron L. Weisman, United States
      Attorney, and Daniel Tenny and Brad Hinshelwood, Attorneys,
      Appellate Staff, were on brief, for appellants.
           Jeffrey Dana, City Solicitor, with whom Megan Maciasz
      DiSanto, Senior Assistant City Solicitor, and Etie-Lee Z. Schaub,
      Associate City Solicitor, were on brief, for appellee City of
      Providence.
           Matthew Jerzyk, City Solicitor, for appellee City of Central
      Falls.


            *Hon. David H. Souter, Associate Justice (Ret.) of the
      Supreme Court of the United States, sitting by designation.
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      General of New York, Barbara D. Underwood, Solicitor General,
      Anisha S. Dasgupta, Deputy Solicitor General, Eric R. Haren,
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      General   of   Colorado,  William   Tong,   Attorney   General   of
      Connecticut, Kathleen Jennings, Attorney General of Delaware,
      Kwame Raoul, Attorney General of Illinois, Brian E. Frosh, Attorney
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                                   March 24, 2020
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                  SELYA, Circuit Judge.       After a number of state and local

      governments refused to assist in federal enforcement of certain

      immigration-related laws, the United States Department of Justice

      (DOJ) purposed to condition some unrelated federal law enforcement

      grants on the provision of such assistance.            Unwilling to retreat

      from their so-called "sanctuary" laws and policies, several state

      and local governments pushed back.           A rash of litigation ensued,

      and a circuit split has now developed.             Compare New York v. U.S.

      Dep't of Justice, 951 F.3d 84, 123-24 (2d Cir. 2020) (upholding

      grant conditions imposed by the DOJ), with City of Philadelphia v.

      Attorney Gen., 916 F.3d 276, 279 (3d Cir. 2019) (invalidating such

      conditions).     The case at hand requires us to take sides in this

      circuit split.

                  To put the critical issues into perspective, it helps to

      revisit the genesis of the underlying suit.              Two affected Rhode

      Island     municipalities     —       Providence     and     Central        Falls

      (collectively,    the   Cities)   —    are   among   the   state      and   local

      governmental entities that decided to resist the DOJ's actions.

      To that end, they repaired to the federal district court and sought

      to invalidate the conditions that the DOJ had imposed on grant

      funds allocated to them.      The district court ruled in the Cities'




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      favor, see City of Providence v. Barr, 385 F. Supp. 3d 160 (D.R.I.

      2019), and the DOJ appealed.1

                  At the time the parties appeared for oral argument before

      us, three courts of appeals had refused to enforce some or all of

      the challenged conditions.        See City of Los Angeles v. Barr, 941

      F.3d 931, 934 (9th Cir. 2019); City of Philadelphia, 916 F.3d at

      279; City of Chicago v. Sessions, 888 F.3d 272, 287 (7th Cir.),

      reh'g en banc granted in part on other grounds, vacated in part on

      other grounds, No. 17-2991, 2018 WL 4268817 (7th Cir. June 4,

      2018), reh'g en banc vacated, No. 17-2991, 2018 WL 4268814 (7th

      Cir. Aug. 10, 2018).       After oral argument, the plot thickened:

      the Second Circuit upheld all of the challenged conditions, see

      New York, 951 F.3d at 123-24, thus creating a circuit split.                We

      have carefully considered the district court's useful rescript,

      the comprehensive briefs of the parties and the amici, the DOJ's

      kitchen-sink-full of clever legal arguments, and the thoughtful

      but conflicting views of sister circuits.          At the end of the day,

      we conclude that the DOJ's reach exceeds its grasp; it lacked

      authority to impose the challenged conditions.             Consequently, we

      affirm the judgment below.




            1The Cities sued not only the DOJ but also the Attorney
      General in his official capacity. For ease in exposition, we refer
      throughout to the DOJ as if it were the sole defendant.


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      I. BACKGROUND

                  For simplicity's sake, we bifurcate our statement of the

      relevant background.      First, we trace the anatomy of the grant

      program that underlies this litigation.               Second, we sketch the

      origins and travel of the case.

        A. The Edward Byrne Memorial Justice Assistance Grant Program.

                  Congress established the Edward Byrne Memorial Justice

      Assistance Grant Program (Byrne JAG) in 2006 through the merger of

      two preexisting grant programs.          See Violence Against Women and

      Department of Justice Reauthorization Act of 2005, Pub. L. No.

      109-162, § 1111, 119 Stat. 2960, 3094 (2006); see also 34 U.S.C.

      § 10151.    Byrne JAG provides grants to state and local governments

      for personnel, equipment, training, and other uses connected with

      certain criminal justice programs.           See 34 U.S.C. § 10152(a)(1).

      To be eligible for Byrne JAG funding, a program must fall within

      the reach of eight broad categories, including "[l]aw enforcement

      programs," "[c]orrections and community corrections programs," and

      "[c]rime victim and witness programs."          Id.

                  The DOJ administers Byrne JAG funding through its Office

      of Justice Programs (OJP), which also oversees other federal law

      enforcement grant programs.        See id. §§ 10101, 10110.           A Senate-

      confirmed Assistant Attorney General (Assistant AG) heads the OJP,

      even though the Attorney General retains ultimate authority over

      the OJP's functions.     See id.    The statute that authorizes the OJP


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      directs the Assistant AG to engage in various information-sharing,

      liaison, and coordination duties.           See id. § 10102(a)(1)-(5).        The

      Assistant AG also must "exercise such other powers and functions

      as may be vested in the Assistant Attorney General pursuant to

      this chapter or by delegation of the Attorney General, including

      placing special conditions on all grants, and determining priority

      purposes for formula grants."         Id. § 10102(a)(6).

                  Importantly, Congress structured Byrne JAG as a formula

      grant program.       Rather than exercising its own discretion as to

      which jurisdictions receive grants and in what amounts, the DOJ is

      obliged to distribute funding pursuant to a statutory formula.

      See id. §§ 10152(a)(1), 10156; see also City of Los Angeles v.

      McLaughlin,    865   F.2d   1084,    1088     (9th   Cir.   1989)   (describing

      difference between formula and discretionary grant programs).                 The

      Byrne JAG formula divides Congress's annual appropriation among

      states based on their relative populations and rates of violent

      crime (with each state receiving a minimum of one-quarter of one

      percent of the total).      See 34 U.S.C. § 10156(a).           Of the funding

      allocated to a given state, up to sixty percent goes to the state

      government and no less than forty percent goes to localities within

      the state.     See id. § 10156(b)-(c).           Relative rates of violent

      crime determine the allocation of funds among localities.                See id.

      § 10156(d)(2)(A).      No local government may receive a Byrne JAG

      grant that is larger than its "total expenditures on criminal


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      justice services for the most recently completed fiscal year for

      which data are available."           Id. § 10156(e)(1).

                       Congress has allowed a carefully circumscribed number of

      deviations from this formula.              Pertinently, the DOJ may reallocate

      up to five percent of Congress's total appropriation for special

      grants      to    address    "precipitous     or   extraordinary      increases       in

      crime" or "significant programmatic harm resulting from operation

      of the formula."         Id. § 10157(b).        So, too, the DOJ may retain up

      to    $20   million     to   help   local     governments     upgrade       their   law

      enforcement         technology      and     another     $20    million       to     fund

      antiterrorism training programs. See id. § 10157(a). In addition,

      Congress has authorized the DOJ to withhold a small percentage of

      a Byrne JAG grant if the designated recipient fails to comply with

      certain specified federal law-enforcement-related mandates. These

      mandates include requirements that states establish a sex offender

      registry, see id. § 20927(a) (mandatory ten percent reduction),

      provide records to a national criminal background check database,

      see id. § 40914(b)(2) (mandatory five percent reduction), and

      report the deaths of individuals in custody, see id. § 60105(c)(2)

      (discretionary reduction of up to ten percent).

                       To receive its share of funding, a state or local

      government must apply annually to the DOJ.                    See id. § 10153(a).

      The   applicant's       proffer     must    make   certain    certifications         and

      assurances concerning the application and the programs for which


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      the applicant seeks funding.           See id.       For example, each applicant

      must provide "[a]n assurance that, for each fiscal year covered by

      an application, [it] shall maintain and report such data, records,

      and   information     (programmatic         and    financial)      as     the   Attorney

      General    may   reasonably     require,"          id.   § 10153(a)(4),         and   "[a]

      certification     .   .   .   that    .    .   .   there    has    been    appropriate

      coordination     with     affected        agencies,"       id.    § 10153(a)(5)(C).

      Applicants also must certify that they "will comply with all

      provisions of this part [the Byrne JAG statute] and all other

      applicable Federal laws."            Id. § 10153(a)(5)(D).

                  After it approves a Byrne JAG application, the DOJ issues

      a grant award letter that the designated government entity must

      sign to receive its grant. In this letter, the DOJ typically lists

      a few so-called "special conditions" with which the designated

      grant recipient must comply.                   Some conditions relate to the

      recipient's administration of the grant (such as collecting and

      maintaining data on the funded programs, cooperating with the DOJ's

      monitoring of the grant, and attending DOJ events and conferences).

      Others require that recipients that use their funding for certain

      purposes (including purchasing police equipment and developing

      training materials) adhere to federal guidelines.                            Recipients

      likewise must obey federal information technology, training, and

      nondiscrimination regulations and policies.                       Every grant award




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      letter states that the DOJ may either withhold or terminate funding

      if the recipient does not comply with these conditions.

                        B. The Origins and Travel of the Case.

                  This    appeal    arises      indirectly     from    long-simmering

      tensions between the federal government and various states and

      localities that have refused to assist wholeheartedly in the

      enforcement of certain federal immigration laws and policies — and

      it arises directly from those tensions involving the federal

      government and the Cities.         In order to limit such assistance, a

      number of state and local governments have enacted sanctuary laws

      and policies, which prohibit their officials from taking certain

      actions that would help federal immigration authorities locate and

      detain potentially deportable noncitizens.             Such laws and policies

      include bans on notifying federal immigration authorities when a

      law   enforcement     officer     takes    into      custody    or   releases   a

      noncitizen.       So, too, some jurisdictions refuse to comply with

      federal immigration detainers, which ask state and local law

      enforcement agencies to hold noncitizens beyond their scheduled

      release    from    criminal     custody      (thus    permitting     immigration

      authorities to detain them). See 8 C.F.R. § 287.7(a), (d); Morales

      v. Chadbourne, 793 F.3d 208, 214-15 (1st Cir. 2015).

                  In May of 2016, the DOJ's Inspector General issued a

      report identifying several state and local governments that were

      receiving federal law enforcement grants (including Byrne JAG


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       grants) and had enacted sanctuary policies that, in one way or

       another, limited their cooperation and information sharing with

       federal immigration authorities.           The Inspector General suggested

       that many of these policies violated 8 U.S.C. § 1373, which

       prohibits federal, state, and local laws and policies that restrict

       the ability of government entities and officials to maintain

       information regarding any individual's immigration status and

       share that information with federal immigration authorities.                  See

       8 U.S.C. § 1373(a)-(b).          Throughout 2015 and 2016, members of

       Congress introduced various bills that would have made compliance

       with section 1373 a condition of federal funding for states and

       localities.     None of these bills became law.         See City of Chicago,

       888 F.3d at 277-78 (collecting bills).

                  These legislative initiatives stymied, the DOJ notified

       Byrne JAG grant recipients that it had determined that section

       1373 was an "applicable federal law" for purposes of the program.

       Going forward, state and local governments would, therefore, have

       to certify compliance with section 1373 as part of the Byrne JAG

       application process.      See 34 U.S.C. § 10153(a)(5)(D) (requiring

       applicants to certify that they "will comply with . . . all other

       applicable Federal laws").       The DOJ announced that, beginning with

       fiscal   year    2017   (FY2017),     it     would   investigate        suspected

       violations of section 1373 and impose sanctions — including the

       withholding of grant funds — on jurisdictions that did not remedy


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       such perceived violations. The DOJ also informed prospective Byrne

       JAG applicants that FY2017 grants would for the first time include

       conditions     requiring     specific   assistance      with     immigration

       enforcement efforts.       According to the DOJ, these conditions were

       designed to ensure that the federal government was not supporting

       states and localities that were undermining its ability to protect

       the public by removing noncitizens who had committed crimes.

                    The Cities have received Byrne JAG grants annually since

       the program's inception. Each of them applied for Byrne JAG grants

       for FY2017.    Providence planned to use its grant to cover overtime

       expenses for officers conducting patrols in "hotspot" areas, hire

       a part-time bilingual police liaison, and place an advertisement

       in a local newspaper.      Central Falls sought funding to upgrade its

       police department's information technology systems.

                    On June 26, 2018, the DOJ notified the Cities that it

       had approved their applications and awarded Providence and Central

       Falls grants of $212,112 and $28,677, respectively.            In the grant

       award letters, the DOJ included three conditions tailored to compel

       cooperation with federal immigration authorities, none of which

       had been a condition on Byrne JAG grants in prior fiscal years:

                         The notice condition:       Grant recipients must
                          implement a law, policy, or practice that ensures
                          that their correctional facilities will "honor" any
                          "formal   written   request   authorized   by   the
                          Immigration and Nationality Act that seeks advance
                          notice of the scheduled release date and time for
                          a particular alien."


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                         The access condition:       Grant recipients must
                          implement a law, policy, or practice that gives
                          federal immigration agents access to "correctional
                          facilit[ies] for the purpose of permitting such
                          agents to meet with individuals who are (or are
                          believed by such agents to be) aliens and to inquire
                          as to such individuals' right to be or remain in
                          the United States."

                         The certification condition:     Grant recipients
                          "must submit the required 'Certification of
                          Compliance with 8 U.S.C. [§] 1373'" and ensure
                          "[o]ngoing compliance with 8 U.S.C. [§] 1373."

                    The Cities took issue with the notice, access, and

       certification       conditions      (collectively,          the         challenged

       conditions), which conflicted with specific sanctuary policies

       that they had embraced. For instance, neither of the Cities allows

       its law enforcement officers to retain custody of a noncitizen

       based solely on an immigration detainer or other request from

       immigration    authorities,      absent    a   court-issued       warrant.        A

       Providence ordinance forbids police officers from even inquiring

       about any individual's immigration status.                 Similarly, police

       officers in Central Falls do not stop or question individuals based

       on their immigration status.              The Cities believe that these

       policies build trust between their law enforcement agencies and

       immigrant communities and ensure that noncitizens feel comfortable

       reporting crimes, cooperating with investigators, and serving as

       witnesses.

                    Dismayed by the DOJ's attempt to superimpose its policy

       views on their law enforcement efforts, the Cities decamped to the


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       federal district court and sued the DOJ.           They sought to enjoin

       the DOJ from imposing the challenged conditions on their FY2017

       Byrne JAG grants.     In relevant part, the Cities alleged that the

       DOJ did not possess statutory authority to impose the challenged

       conditions, that the imposition of the challenged conditions was

       arbitrary and capricious, and that the challenged conditions were

       unconstitutional.

                  After some procedural skirmishing not relevant here, the

       parties filed cross-motions for summary judgment.              The district

       court granted summary judgment for the Cities, holding that the

       DOJ exceeded its statutory authority in imposing the challenged

       conditions on their Byrne JAG grants.       See City of Providence, 385

       F. Supp. 3d at 164-65.       The court permanently enjoined the DOJ

       from enforcing the challenged conditions and — in aid of that

       injunction — issued a writ of mandamus directing the DOJ to

       disburse the Cities' FY2017 grant funds to them.                This timely

       appeal ensued.2




            2 In October of 2018, the DOJ approved the Cities' Byrne JAG
       applications for fiscal year 2018 (FY2018).       The grant award
       letters contained both modified versions of the challenged
       conditions and some new immigration-related conditions. After the
       Cities amended their complaint to challenge the FY2018 conditions,
       the district court bifurcated the FY2017 and FY2018 claims. The
       court entered partial final judgment on the FY2017 claims under
       Federal Rule of Civil Procedure 54(b), conferring appellate
       jurisdiction over this appeal.     See United States v. Univ. of
       Mass., Worcester, 812 F.3d 35, 44-45 (1st Cir. 2016).


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       II. ANALYSIS

                    We review the district court's entry of summary judgment

       de novo, taking the facts and all reasonable inferences therefrom

       in the light most agreeable to the nonmovant. See Avery v. Hughes,

       661 F.3d 690, 693 (1st Cir. 2011).          "We will affirm only if the

       record reveals 'that there is no genuine dispute as to any material

       fact and the movant is entitled to judgment as a matter of law.'"

       Id. (quoting Fed. R. Civ. P. 56(a)).             The fact that the parties

       brought cross-motions for summary judgment does not alter our

       standard of review.     See Blackie v. Maine, 75 F.3d 716, 721 (1st

       Cir. 1996).

                    The briefs in this case mix policy arguments with legal

       arguments.    The Cities view their sanctuary policies as consistent

       with the best traditions of a free and open society.                   The DOJ,

       however, views those policies as antithetic to its efforts to

       enforce a series of validly enacted immigration-related laws.                 We

       need not plunge into these troubled waters.            The issue before us

       is not whether sanctuary policies are good or bad — that issue is

       for the political branches, not for the courts.           Instead, we focus

       on the parties' legal arguments, which coalesce into a single

       dispositive issue:      did the DOJ lawfully impose the challenged

       conditions on the Cities' FY2017 Byrne JAG grants?

                    The court below adopted the Cities' theory that the DOJ

       exceeded   its   statutory   authority      in   imposing    the      challenged


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       conditions.      In this venue, the Cities reiterate this theory and

       argue, in the alternative, that the DOJ acted arbitrarily and

       capriciously when it imposed the challenged conditions.                         Finally,

       they argue that the challenged conditions violate the Spending

       Clause of the United States Constitution.                See U.S. Const. art. I,

       § 8, cl. 1.        Like the district court, we begin — and end — with

       the proposition that the DOJ lacked statutory authority to impose

       the challenged conditions.

                    When an executive agency administers a federal statute,

       the   agency's     power   to    act    is    "authoritatively       prescribed       by

       Congress."     City of Arlington v. FCC, 569 U.S. 290, 297 (2013).

       It is no exaggeration to say that "an agency literally has no power

       to act . . . unless and until Congress confers power upon it."

       La. Pub. Serv. Comm'n v. FCC, 476 U.S. 355, 374 (1986).                     Any action

       that an agency takes outside the bounds of its statutory authority

       is ultra vires, see City of Arlington, 569 U.S. at 297, and

       violates     the     Administrative          Procedure    Act,      see     5    U.S.C.

       § 706(2)(C).

                    The DOJ advances two sources of purported statutory

       authority for the challenged conditions:                  the Byrne JAG statute

       itself, 34 U.S.C. §§ 10151-10158, and the duties-and-functions

       provisions relating to the Assistant AG for the OJP, 34 U.S.C.

       § 10102.      The     question    of     whether    either     of   these        sources

       authorized the imposition of the challenged conditions reduces to


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       an exercise in statutory construction.         We therefore summarize the

       familiar principles that guide such an inquiry.

                    A court's lodestar in interpreting a statute is to

       effectuate    congressional      intent.     See   Passamaquoddy       Tribe   v.

       Maine, 75 F.3d 784, 788 (1st Cir. 1996).           It is axiomatic that the

       quest to determine this intent must start with the text of the

       statute itself.     See Stornawaye Fin. Corp. v. Hill (In re Hill),

       562 F.3d 29, 32 (1st Cir. 2009).           When Congress uses a term in a

       statute and does not define it, we generally assume that the term

       carries its plain and ordinary meaning.              See id.      The context

       surrounding    a   statutory     provision   and    the   structure     of     the

       statutory scheme as a whole often provide useful indicators of

       congressional intent.     See Atl. Fish Spotters Ass'n v. Evans, 321

       F.3d 220, 224 (1st Cir. 2003); Sterling Suffolk Racecourse Ltd.

       P'ship v. Burrillville Racing Ass'n, 989 F.2d 1266, 1270 (1st Cir.

       1993).   If the language employed by Congress evinces a plausible

       meaning for the disputed provision, our inquiry normally ends

       there.   See In re Hill, 562 F.3d at 32.           Other tools of statutory

       interpretation, such as legislative history, customarily carry

       significant weight only when the text is ambiguous or its plain

       meaning leads to an absurd result.           See United States v. Charles

       George Trucking Co., 823 F.2d 685, 688 (1st Cir. 1987).




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                    Against    this    backdrop,     we   proceed   to     examine    the

       statutory provisions that the DOJ identifies as authorizing the

       imposition of the challenged conditions.

                                A. The Byrne JAG Statute.

                    Our starting point is the Byrne JAG statute.                  See 34

       U.S.C. §§ 10151-10158.         No provision in the statute authorizes the

       DOJ to condition Byrne JAG grants on cooperation with federal

       immigration enforcement efforts in so many words.                    Recognizing

       this lack of specific authorization, the DOJ relies instead on

       three categories of assurances and certifications that the statute

       requires state and local governments to proffer in their Byrne JAG

       applications:          maintenance     and    reporting      of     programmatic

       information, see id. § 10153(a)(4), coordination with affected

       agencies, see id. § 10153(a)(5)(C), and compliance with "all other

       applicable Federal laws," id. § 10153(a)(5)(D).                   We address the

       information-reporting and coordination provisions together and

       then shift the lens of our inquiry to the "applicable Federal laws"

       provision.

                    1.   The      Information-Reporting          and       Coordination

       Provisions.       The    information-reporting        provision      of   section

       10153(a) mandates that a Byrne JAG application include "[a]n

       assurance that, for each fiscal year covered by an application,

       the applicant shall maintain and report such data, records, and

       information (programmatic and financial) as the Attorney General


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       may reasonably require."             Id. § 10153(a)(4).          The coordination

       provision requires an applicant to certify that "there has been

       appropriate        coordination         with    affected       agencies."          Id.

       § 10153(a)(5)(C).          The      DOJ     contends    that    these       provisions

       authorized the imposition of the challenged conditions because

       those conditions request the sharing of "programmatic" information

       about     a    grant   recipient's        law   enforcement      and    correctional

       activities and call for "coordination" with federal immigration

       authorities.

                      The DOJ's contentions stretch the statutory language

       beyond hope of recognition.               Under the DOJ's interpretation, the

       term     "programmatic"        in   the      information-reporting           provision

       apparently would refer to any activity that a grant recipient

       undertakes within the eight categories of "programs" that the Byrne

       JAG statute allows grants to fund, without regard to whether the

       recipient's       grant   in     fact      funds   that      particular      activity.

       Throughout the Byrne JAG statute, though, Congress used the term

       "program" in only two ways:               to refer to Byrne JAG itself, see,

       e.g., id. § 10151(a) ("The grant program established under this

       part     shall    be   known   as    the    'Edward    Byrne     Memorial      Justice

       Assistance Grant Program'."), or to refer to the specific criminal-

       justice-related activity that a Byrne JAG grant supports, see,

       e.g.,    id.     § 10152(a)(1)      (explaining       that    Byrne    JAG    provides

       funding "for criminal justice, including for any one or more of


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       the following [eight] programs"); id. § 10153(a)(5)(A) (requiring

       applicant to certify that "the programs to be funded by the grant

       meet all the requirements of this part").                 In statutes that

       authorize other federal grant programs, Congress commonly uses the

       term "programmatic" in this same manner, that is, to denote the

       grant program and the activities that it funds.               See, e.g., 20

       U.S.C.     § 1232f(a);     29    U.S.C.      § 3245(c)(2);       34         U.S.C.

       § 20305(a)(2)(B);     42   U.S.C.    § 300ff-14(h)(3)(A).             The   DOJ's

       contrary interpretation is little more than an ipse dixit; the DOJ

       advances no principled reason why we should interpret the term in

       so unorthodox a manner when construing the information-reporting

       provision.3    See City of Los Angeles, 941 F.3d at 944-45; City of

       Philadelphia, 916 F.3d at 285; see also Azar v. Allina Health

       Servs., 139 S. Ct. 1804, 1812 (2019) (explaining that courts should




            3 The DOJ mentions that each challenged condition is prefaced
       with some variant of the following language: "[w]ith respect to
       the 'program or activity' funded in whole or part under this
       award." The challenged conditions define "program or activity" by
       importing the broad meaning that the same phrase carries under
       Title VI of the Civil Rights Act of 1964. See 42 U.S.C. § 2000d-
       4a (defining "program or activity" as "all of the operations" of
       various public and private entities that receive federal funding).
       If the DOJ seeks to argue that its own definition of the term
       "program" is entitled to deference, that argument is incorrect.
       This definition contradicts the plain meaning of the term as used
       in the statute and is, therefore, unreasonable. See City of Los
       Angeles, 941 F.3d at 945 n.17; see also Quinn v. City of Boston,
       325 F.3d 18, 33-34 (1st Cir. 2003) (explaining that courts should
       not defer to agency interpretations of statutes that are
       unreasonable or "contradict clearly ascertainable legislative
       intent").


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       "not lightly assume that Congress silently attaches different

       meanings to the same term in the same or related statutes").

                     The DOJ's definition of "programmatic" is inconsistent

       with the plain language of the statute in another way.                             The

       information-reporting provision requires that a grant applicant

       assure that it will maintain and report programmatic information

       "for each fiscal year covered by an application."                          34 U.S.C.

       § 10153(a)(4).            The fact that the statute ties the reporting

       obligation to the years "covered by an application" supports

       interpreting the term "programmatic" to refer to Byrne JAG itself

       and    the    specific        activities   that   a    grant   funds.       Treating

       "programmatic" as referring to law-enforcement-related activities

       that are not funded by a grant would gratuitously expand the scope

       of    the    term    in   a   manner   that    contradicts     the    "fiscal    year"

       language.

                     Turning to the coordination provision, we find once

       again that the DOJ's broad interpretation conflicts with the plain

       meaning      of     the   statutory    text.      The    DOJ   reads    the     phrase

       "coordination with affected agencies" to refer to coordination

       with all law enforcement agencies affected by any activity of the

       grant applicant.           It attempts to justify this interpretation by

       invoking a goal of the Byrne JAG program, which is also an

       objective of the OJP's work more generally:                  the promotion of law

       enforcement         cooperation.       See,    e.g.,    34   U.S.C.   § 10102(a)(4)


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       (directing        Assistant          AG   for     OJP   to    "maintain     liaison    with

       . . . State           and    local    governments         . . . relating      to   criminal

       justice"); Omnibus Crime Control and Safe Streets Act of 1968,

       Pub.       L.   No.    90-351,       82   Stat.    197,    197   (listing     purposes   of

       predecessor grant program as including increasing "coordination of

       law enforcement and criminal justice systems at all levels of

       government").

                       The text of the provision itself belies this jerry-built

       justification.              The statute requires an applicant to certify only

       that there "has been" coordination, 34 U.S.C. § 10153(a)(5)(C),

       and we must give effect to the verb tense that Congress has chosen

       to employ, see Carr v. United States, 560 U.S. 438, 448 (2010);

       Navarro v. Pfizer Corp., 261 F.3d 90, 100-01 (1st Cir. 2001). That

       tense makes pellucid that the coordination to which the statute

       alludes must take place before a state or local government submits

       its application.               Given this temporal limitation, we think it

       manifest that the required coordination concerns the preparation

       of an application and involves the agencies affected by the

       programs for which the applicant seeks funding.4                         See City of Los

       Angeles, 941 F.3d at 945; City of Philadelphia, 916 F.3d at 285.




              4
              Contrary to the DOJ's intimation, the Byrne JAG statute does
       not address this type of coordination elsewhere in the list of
       certifications and assurances required in an application. See 34
       U.S.C. § 10153(a)(3) (pre-submission opportunity for consultation
       with the public); id. § 10153(a)(6) (submission of statewide plan


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                   If more were needed — and we doubt that it is — both the

       statutory context and the formulaic nature of the Byrne JAG program

       undermine the DOJ's expansive construction of the information-

       reporting and coordination provisions.            To begin, the canon of

       noscitur a sociis teaches that "statutory words are often known by

       the company they keep."       Lagos v. United States, 138 S. Ct. 1684,

       1688-89 (2018); see Wheeling & Lake Erie Ry. Co. v. Keach (In re

       Montreal, Me. & Atl. Ry., Ltd.), 799 F.3d 1, 8 (1st Cir. 2015).

       Under    this   canon,   "a   string   of    statutory    terms    raises   the

       implication that the 'words grouped in a list should be given

       related meaning.'"       S.D. Warren Co. v. Me. Bd. of Envtl. Prot.,

       547 U.S. 370, 378 (2006) (quoting Dole v. United Steelworkers, 494

       U.S. 26, 36 (1990)).

                   The information-reporting and coordination provisions

       appear in a list of assurances and conditions that a Byrne JAG

       applicant must make with respect to the application and programs

       to be funded.     See 34 U.S.C. § 10153(a) (requiring certification,

       inter alia, that grant will not supplant applicant's own funding

       and that applicant's governing body and the public had opportunity

       to review application).       We presume that Congress intended these

       provisions to relate unreservedly to the application, grant, and

       programs to be funded.           The broad authorization that the DOJ



       on use of Byrne JAG grants developed in consultation with public
       and private entities).


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       purports to find in these provisions — the power to condition a

       Byrne JAG grant on the recipient's reporting of information and

       coordination on matters relating to any of the far-flung law

       enforcement operations that it conducts — is implausible in this

       context.    See McDonnell v. United States, 136 S. Ct. 2355, 2368

       (2016) (recognizing that canon of noscitur a sociis helps avoid

       expansive definitions that Congress did not intend).

                   In addition, it is nose-on-the-face plain that Congress

       intended Byrne JAG to operate as a formula grant program.               See 34

       U.S.C. § 10201(b)(2) (referring to Byrne JAG grants as "formula

       grants").    To carry out this intent, the DOJ must allocate funding

       in accordance with a detailed formula that takes into account

       population and violent crime statistics.             See id. §§ 10152(a)(1),

       10156.      Congress   was   quick    to   specify    those    relatively   few

       instances where it thought a deviation from this formula would be

       permissible.    For example, the DOJ may reserve up to five percent

       of Congress's total appropriation for special grants to address

       "precipitous     or    extraordinary        increases     in    crime,"     id.

       § 10157(b)(1), and it must withhold ten percent of a grant from a

       state that does not maintain a sex offender registry that meets

       federal standards, see id. § 20927(a).

                   Congress did not make an allowance for any deviation

       that would justify the actions undertaken by the DOJ in this case.

       And reading the information-reporting and coordination provisions


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       as broadly as does the DOJ would destabilize the statutory formula.

       In the DOJ's view, it can condition Byrne JAG grants on state and

       local governments assisting with unrelated federal law enforcement

       priorities          through   mandatory        disclosure      of    information       and

       coordination.          But the statutory formula is not so elastic:                     it

       simply does not allow the DOJ to impose by brute force conditions

       on Byrne JAG grants to further its own unrelated law enforcement

       priorities.           In fact, the express authorization for specific

       deviations from the formula strongly implies that Congress did not

       intend to give the DOJ the power to advance its own priorities by

       means of grant conditions.                 See City of Philadelphia, 916 F.3d at

       286;     see   also    Gonzales       v.    Oregon,    546    U.S.   243,   262    (2006)

       (declining to find broad and unrestrained authority for agency in

       statute that specifically describes agency's limited authority to

       act).

                      To    sum   up,   we    hold     that    the    information-reporting

       provision authorizes the DOJ to require a Byrne JAG applicant only

       to assure that it will maintain and report information about its

       grant and the programs that the grant funds.                         See City of Los

       Angeles, 941 F.3d at 944-45; City of Philadelphia, 916 F.3d at

       285.     We further hold that the coordination provision authorizes

       the DOJ only to require a certification that the applicant has

       coordinated in the preparation of its application with agencies

       affected by the programs for which the applicant seeks funding.


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       See City of Los Angeles, 941 F.3d at 945; City of Philadelphia,

       916 F.3d at 285.

                     None    of    the    challenged         conditions      falls   within    the

       compass of this authority.                     With respect to the information-

       reporting      provision,         only    the    notice       condition    requires     the

       disclosure       of   information         to    the    federal       government.       That

       condition, however, calls for the Cities to report the release

       dates of noncitizens in their custody — information that does not

       pertain either to the Cities' Byrne JAG grants or to the police-

       related programs for which the Cities sought funding.                         The release

       dates of noncitizens do not, therefore, qualify as "programmatic"

       information.          So, too, the purported reach of the challenged

       conditions exceeds the authority conferred upon the DOJ by the

       coordination provision:              they mandate that the Cities cooperate

       with federal immigration authorities in manifold ways that are,

       without exception, unrelated either to their Byrne JAG grants or

       to    the    programs      for    which    the       Cities    sought     funding.      The

       challenged conditions also require coordination on an ongoing

       basis during the term of the Cities' grants, not merely past

       coordination relative to the preparation of their applications.

                     We add a coda.             Although the Second Circuit reached a

       similar conclusion about the meaning of the information-reporting

       and    coordination        provisions,          it    held    that    those      provisions

       authorize the imposition of the notice and access conditions on


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       any grant that funds a program "relate[d] in any way to the

       criminal prosecution, incarceration, or release of persons."                        New

       York, 951 F.3d at 116-22.          The court explained that such programs

       include those for police task forces, prosecutors' and defenders'

       offices, and incarceration facilities.                  See id. at 117-18.          The

       DOJ advances a similarly expansive notion of the scope of a funded

       program.         For    example,   it     suggests     that     even    if    the   term

       "programmatic" refers only to a Byrne JAG grant and the programs

       that     the     grant    supports,       the      challenged        conditions     seek

       "programmatic" information from any grant recipient that uses its

       funding for a law enforcement or corrections program.

                      We reject this capacious view of the types of funded

       programs       that    would   permit    the    imposition      of    the    challenged

       conditions — a view that covers most (if not all) criminal justice

       activities that a state or local government may undertake.                          For

       the reasons previously discussed, we think it would be wrong to

       hold that Congress gave the DOJ free rein to insist that Byrne JAG

       applicants furnish information and engage in coordination with

       respect to all of their law enforcement operations.                      And while we

       do not foreclose the possibility that the challenged conditions

       may be sufficiently related to programs for which a different grant

       applicant seeks funding, the activities financed by the Cities'

       FY2017 Byrne JAG grants have no direct connection either to the

       removal of noncitizens or to the Cities' relationships with federal


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       immigration authorities.            It follows inexorably, as night follows

       day,       that    the   DOJ    lacked   statutory    authority     to   impose    the

       challenged conditions pursuant to the information-reporting and

       coordination provisions of the Byrne JAG statute.

                         2. The "Applicable Federal Laws" Provision.                  We turn

       next to the DOJ's asseveration that the certification condition is

       authorized by section 10153(a)(5)(D) of the Byrne JAG statute.

       That provision requires Byrne JAG applicants to certify that they

       "will comply with all provisions of this part [the Byrne JAG

       statute] and all other applicable Federal laws."5                            34 U.S.C.

       § 10153(a)(5)(D).              The DOJ would have us interpret the phrase

       "applicable Federal laws" to cover all "laws that apply to Byrne

       JAG applicants and are germane to the grant."                          Section 1373

       qualifies as such a law, the DOJ claims, because it applies to

       state and local governments and mandates "cooperation between

       federal and state officials, which . . . is central to the Byrne

       JAG program."            The Cities rejoin that the phrase refers more

       narrowly to laws that apply to state and local governments qua


              5
              Although the statute speaks only of certifying compliance
       with "applicable Federal laws," the conditions in the Cities'
       FY2017 grant award letters specify that the Cities both certify
       compliance with section 1373 and ensure ongoing compliance with
       the same statute throughout the period of the grants. The DOJ's
       arguments do not meaningfully distinguish between these two
       requirements.   Because we conclude that section 1373 is not an
       "applicable Federal law," see text infra, we take no view on
       whether the DOJ may condition a Byrne JAG grant on ongoing
       compliance with such a law.


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       Byrne JAG grant recipients.            They hasten to add that section 1373

       does not fit within this narrower taxonomy.               The statutory text,

       on its face, fails to resolve this dispute:                it neither defines

       the term "applicable" nor explicitly indicates the scope of federal

       laws that fall within the ambit of this provision.

                   The dictionary defines "applicable" to mean "capable of

       being    applied"    or   "fit,   suitable,     or   right     to   be   applied."

       Webster's    Third    New   International       Dictionary     of     the   English

       Language Unabridged 105 (Philip Babcock Gove ed., 2002).                    Relying

       heavily on this generic definition, the Second Circuit interpreted

       the phrase "applicable Federal laws" to encompass all federal laws

       "pertaining either to the State or locality seeking a Byrne grant

       or to the grant being sought."             New York, 951 F.3d at 106.            The

       court reasoned that a statute "can" or "may" be capable of being

       applied or fit to be applied both to persons (such as the grant

       applicant) and to circumstances (such as the grant itself).                     Id.

                   Courts must be wary of simplistic solutions and, unlike

       the   Second   Circuit,     we    do    not   believe   that    the      dictionary

       definition clarifies the meaning of the term "applicable" as used

       in this context.          After all, "words are like chameleons; they

       frequently have different shades of meaning depending upon the

       circumstances."      Doe v. Leavitt, 552 F.3d 75, 83 (1st Cir. 2009)

       (quoting United States v. Romain, 393 F.3d 63, 74 (1st Cir. 2004)).

       A federal law may be "capable of being applied" or "fit to be


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       applied"   in    an   infinite   number      of     ways,    and   the     range   of

       interpretations advanced by the Second Circuit, the DOJ, and the

       Cities are all consistent with this definition.                          Instead of

       assuming (as the Second Circuit did) that Congress meant to imbue

       "applicable Federal laws" with its broadest possible meaning, we

       think that sound principles of statutory construction demand that

       we venture beyond the dictionary definition to ascertain the

       intended scope of the phrase in this specific context.

                  At the outset, a close reading of the statutory text

       casts    grave    doubt    on    the    Second         Circuit's       extravagant

       interpretation.       The canon against surplusage teaches that "[w]e

       must read statutes, whenever possible, to give effect to every

       word and phrase."      Narragansett Indian Tribe v. Rhode Island, 449

       F.3d 16, 26 (1st Cir. 2006) (en banc).             Courts generally ought not

       to interpret statutes in a way that renders words or phrases either

       meaningless or superfluous.       See United States v. Walker, 665 F.3d

       212, 225 (1st Cir. 2011).        The Second Circuit's interpretation of

       the phrase "applicable Federal laws" — which encompasses all

       federal laws that apply to state and local governments in any

       capacity — flouts this principle by effectively reading the term

       "applicable" out of the statute.        For instance, a local government

       hardly can certify that it will comply with a law that does not

       apply to local governments in the first place.                Congress obviously

       could have written this provision to require Byrne JAG applicants


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       to certify compliance with "all other Federal laws," but it did

       not.     In our view, the fact that Congress included the word

       "applicable" strongly implies that the provision must refer to a

       subset   of     all   federal    laws   that    apply    to   state      and   local

       governments.      See City of Philadelphia, 916 F.3d at 289.

                      To its credit, the DOJ does not ask us to adopt the

       expansive       interpretation     of   the     "applicable     Federal        laws"

       phraseology proposed by the Second Circuit. The DOJ argues instead

       that its somewhat narrower construction of the phrase does not

       render the word "applicable" meaningless because that word limits

       the relevant category of federal laws to those that are "germane"

       to the Byrne JAG program (and, thus, may constitutionally serve as

       conditions on Byrne JAG grants).           See New York v. United States,

       505 U.S. 144, 171-72 (1992).         Such a limitation gets the DOJ where

       it wants to go since it deems all laws that govern cooperation

       between the federal government and states and localities on any

       law enforcement issue to be "germane" to the Byrne JAG program.

                      This argument has a patina of plausibility.               The words

       "applicable" and "germane" both can mean "relevant." See Webster's

       Third    New    International      Dictionary    of     the   English     Language

       Unabridged, supra, at 105, 951.          But as with the Second Circuit's

       blind    allegiance     to   the    dictionary    definition      of     the   word

       "applicable," the DOJ's use of a handy synonym for the same word

       does not answer the critical question:                  in what sense must a


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       federal law be relevant in order to qualify as an "applicable

       Federal law" under section 10153(a)(5)(D)?               Once again, we find

       useful guidance in the canons of statutory construction. The canon

       of noscitur a sociis points us to the correct answer.              It suggests

       that the "applicable Federal laws" provision must carry a meaning

       similar    to   the   neighboring    assurances    and    certifications     in

       section 10153(a).      As we previously have explained, see supra Part

       II(A)(1), those assurances and certifications all concern the

       Byrne JAG application and the programs supported by the grants.

       In this statutory setting, the phrase "applicable Federal laws"

       logically denotes laws that apply to states and localities in their

       capacities as Byrne JAG grant recipients.          It strains credulity to

       think that Congress would bury among those certifications and

       assurances an authorization for the DOJ to condition grants on

       certification of compliance with federal laws that require some

       law-enforcement-related cooperation but lack any nexus to the

       Byrne JAG program.      See City of Philadelphia, 916 F.3d at 289-90.

                   There is more.        Under the DOJ's interpretation of the

       "applicable Federal laws" provision, it would have substantial

       discretion to deviate from the statutory formula in order to

       enforce its own priorities.            After all, it would be able to

       withhold a grant in its entirety based on the recipient's failure

       to certify compliance with any of the wide array of federal laws




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       that touch upon law enforcement cooperation.6              See id. at 290.

       Given the formulaic nature of the Byrne JAG program, we doubt that

       Congress intended to give the DOJ so universal a trump card.

                   The DOJ strives to persuade us that this reasoning is

       faulty.     It serves up a list of other statutes that it contends

       more clearly limit the phrase "applicable Federal laws" to laws

       that apply in the context of federal funding.                 See 42 U.S.C.

       § 16154(g)(1) (requiring Secretary of Energy to carry out hydrogen

       energy and fuel cell program in a manner "consistent with the

       generally applicable Federal laws and regulations governing awards

       of financial assistance, contracts, or other agreements"); Water

       Resources Reform and Development Act of 2014, Pub. L. No. 113-121,

       § 1043(a)(3)(C)(ii)(II), 128 Stat. 1193, 1246 (to be codified at

       33 U.S.C. § 2201) (requiring Secretary of the Army to ensure that

       certain recipients of federal funds for water resources projects

       "comply with all applicable Federal laws (including regulations)


            6 The DOJ implicitly assumes that the Byrne JAG statute allows
       it to pick and choose the "applicable Federal laws" with which a
       grant applicant must certify compliance. See New York, 951 F.3d
       at 104 ("[T]he Attorney General identifies the laws requiring
       § 10153(a)(5)(D) compliance certification.").      This assumption
       contradicts the language of the statute, which states that a Byrne
       JAG application "shall include" a certification that the grant
       applicant "will comply with . . . all other applicable Federal
       laws." 34 U.S.C. § 10153(a)(5)(D) (emphasis supplied). Given the
       clarity of the requirement set forth in the statute, we do not
       think that the DOJ's discretion to determine the "form" of a Byrne
       JAG application, id. § 10153(a), is sufficiently elastic to allow
       it to mandate certification of compliance with only those
       "applicable Federal laws" that further its own policy priorities.


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       relating to the use of those funds").            Relatedly, it complains

       that the Cities' crabbed interpretation means that it cannot

       condition    Byrne   JAG   grants    on   recipients'     certification     of

       compliance with certain significant public safety laws that do not

       apply to states and localities in their capacities as grant

       recipients.    See New York, 951 F.3d at 107-08 (expressing concern

       at "the idea of States and localities seeking federal funds to

       enforce their own laws while themselves hampering the enforcement

       of federal laws, or worse, violating those laws").             Specifically,

       the DOJ points to federal statutory requirements anent the transfer

       and registration of firearms.        See 26 U.S.C. §§ 5812, 5841.

                   We are not convinced. As the DOJ's examples demonstrate,

       Congress could have used clearer language to indicate its desire

       to limit "applicable Federal laws" to those that apply to state

       and local governments in their capacities as Byrne JAG grant

       recipients.    But the perfect is often the enemy of the good, and

       Congress cannot always be expected to speak in the clearest

       possible terms. In this instance, what counts is that the language

       that Congress did use, coupled with the neighboring statutory

       provisions and the formulaic nature of the grant program, leaves

       little doubt that Congress meant for the phrase "applicable Federal

       law" to have this circumscribed scope.

                   We add — without taking a position as to whether any

       laws not at issue here are "applicable Federal laws" — that we


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       think Congress intended not to condition Byrne JAG grants on

       certification of compliance with every law that mandates some form

       of cooperation with the federal government on criminal justice

       matters.     Congress made this intent manifest by stating expressly

       in   other    statutes     that     noncompliance        with    those     statutes'

       requirements could trigger the withholding of a set percentage of

       a Byrne JAG grant.        See, e.g., 34 U.S.C. § 60105(c)(2).

                    We    find   equally    unconvincing        the    Second     Circuit's

       asserted justification for interpreting the phrase "applicable

       Federal laws" to include laws beyond those that apply to state and

       local    governments      in   their     capacities      as     Byrne     JAG   grant

       recipients.       See New York, 951 F.3d at 105-11.             In addition to the

       generic dictionary definition of the term "applicable," the Second

       Circuit mentioned what it considered the DOJ's broad statutory

       authority    to    determine      whether   a    state    or    local     government

       qualifies for Byrne JAG funding in the first place.                      See id. at

       103-04, 107 & n.22.

                    We do not read the Byrne JAG statute to grant the DOJ

       such sweeping authority.          We recognize, of course, that Congress

       said that a state or local government may not qualify for its share

       of Byrne JAG funding in some circumstances.               See 34 U.S.C. § 10154

       (permitting       Attorney     General      to   "finally        disapprove     [an]

       application" after allowing applicant to correct deficiencies);

       id. § 10156(f) (directing Attorney General to reallocate funding


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       to localities if he "determines . . . that a State will be unable

       to qualify or receive funds under this part").                Still, nothing in

       the Byrne JAG statute indicates that Congress intended to permit

       the DOJ to create qualification requirements unrelated to the grant

       program simply to advance its own policy priorities.                     And as the

       Second Circuit acknowledged, section 10153(a) delineates precisely

       what an applicant must do to qualify for a grant, that is, proffer

       the   necessary     assurances    and    certifications        and    submit     the

       required statewide plan.         See New York, 951 F.3d at 104 ("[T]he

       Attorney    General's     authority     in     identifying     qualified      Byrne

       applicants    is    not   limitless     but,   rather,    a   function      of   the

       particular requirements prescribed by Congress.").                    The DOJ may

       determine     the     "form"     of     the      application         and    certain

       certifications, 34 U.S.C. §§ 10153(a), 10153(a)(5), but that power

       does not allow it to arrogate unto itself the authority to alter

       the qualification requirements.           Seen in this light, the limited

       delegation of discretion to the DOJ in the Byrne JAG statute does

       not support a broad interpretation of the "applicable Federal laws"

       provision.

                    That ends this aspect of the matter.                    We hold that

       "applicable Federal laws" under section 10153(a)(5)(D) are federal

       laws that apply to state and local governments in their capacities

       as Byrne JAG grant recipients.            Section 1373 is not such a law

       because it applies to any state or local government, regardless of


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       whether that government accepts Byrne JAG funding. The "applicable

       Federal     laws"    provision     did     not,    therefore,      authorize      the

       imposition of the certification condition.

        B. The Duties and Functions of the Assistant Attorney General.

                   We now reach what may be the DOJ's strongest argument:

       its assertion that it possessed statutory authority to impose the

       challenged conditions under 34 U.S.C. § 10102.                 This statute lays

       out the duties and functions of the Assistant AG for the OJP.

       These     duties    and    functions     include     overseeing      the     various

       components within the OJP and performing certain information-

       sharing and liaison-related tasks pertaining to criminal justice

       issues.       See    id.   § 10102(a)(1)-(5).           In    addition,      section

       10102(a)(6) states that the Assistant AG shall "exercise such other

       powers and functions as may be vested in the Assistant Attorney

       General pursuant to this chapter or by delegation of the Attorney

       General, including placing special conditions on all grants, and

       determining        priority     purposes    for     formula       grants."        Id.

       § 10102(a)(6).

                   Seizing on this language, the DOJ submits that section

       10102(a)(6)        authorizes    the     Assistant     AG    to    place     special

       conditions on all grants that the OJP administers, including Byrne

       JAG grants.7       The DOJ defines a "special condition" as any grant-


            7 Although the DOJ's 2017 announcement of the notice and
       access conditions called compliance with those conditions "an


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       wide condition that the Assistant AG deems warranted based on "the

       circumstances of a particular grant program" (or, as the DOJ put

       it at oral argument, any condition "germane" to the grant program).

       The challenged conditions are reasonable requirements for the

       receipt of Byrne JAG funds, the DOJ says, because they ensure that

       state and local governments cooperate with federal immigration

       authorities and, thus, enhance public safety.

                    As we have explained, see supra Part II(A), the DOJ has

       not pointed to any provision in the Byrne JAG statute that allows

       either the Assistant AG or the Attorney General to impose the

       challenged conditions on Byrne JAG grants.                Nor has the DOJ

       identified    any   other   statute   or    regulation    that    gives   such

       authority to either official.         It necessarily follows that the

       DOJ's thesis rests on the notion that section 10102(a)(6) itself

       confers statutory authority to impose special conditions.                 In a

       nutshell, the DOJ reads the phrase "placing special conditions on

       all grants" as an independent endowment of authority above and

       beyond "such other powers and functions as may be vested in the



       authorized and priority purpose" of the Byrne JAG grants, the DOJ
       has not taken the matter any further. Before us, it has neither
       defined the term "priority purpose" nor explained why compliance
       with the challenged conditions constitutes a "priority purpose."
       Any argument to the effect that the "determining priority purposes
       for formula grants" language in section 10102(a)(6) authorized the
       imposition of the challenged conditions is, therefore, waived.
       See United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990)
       ("[I]ssues adverted to in a perfunctory manner, unaccompanied by
       some effort at developed argumentation, are deemed waived.").


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       Assistant     Attorney       General    pursuant    to    this   chapter     or   by

       delegation of the Attorney General."                    The Cities reject this

       premise, arguing that placing special conditions is simply an

       illustrative example of the powers that the Assistant AG may

       exercise if vested in him elsewhere in the statute or by delegation

       from the Attorney General.

                   Our analysis of this provision starts, as it must, with

       the statutory text.          See In re Hill, 562 F.3d at 32.                Congress

       prefaced the phrase "placing special conditions on all grants"

       with the word "including."         In both lay and legal usage, "include"

       generally signifies that what follows is a subset of what comes

       before.      See Include, Black's Law Dictionary (8th ed. 2004)

       (defining "include" as "[t]o contain as a part of something");

       Webster's    Third     New    International       Dictionary     of   the   English

       Language Unabridged, supra, at 1143 (defining "include" as "to

       place, list, or rate as a part or component of a whole or of a

       larger group, class, or aggregate").               In the same vein, the word

       "including"     most    commonly       "connotes    .    .   .   an   illustrative

       application of the general principle."             Reich v. Cambridgeport Air

       Sys., Inc., 26 F.3d 1187, 1191 (1st Cir. 1994) (quoting Fed. Land

       Bank of St. Paul v. Bismarck Lumber Co., 314 U.S. 95, 100 (1941)).

       This plain meaning indicates, as the Cities posit, that "placing

       special conditions on all grants" is an example of a power or

       function that the Assistant AG may exercise if vested in him


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       "pursuant   to   this    chapter   or    by   delegation       of   the   Attorney

       General."   See New York, 951 F.3d at 101-02; City of Philadelphia,

       916 F.3d at 287; City of Chicago, 888 F.3d at 284-85; see also

       City of Los Angeles, 941 F.3d at 947-48 (Wardlaw, J., concurring

       in the judgment).       Under the DOJ's alternative interpretation, the

       word "including" would mean "and" or "as well as" — a radical

       departure from the word's plain and ordinary meaning.                     See P.C.

       Pfeiffer Co. v. Ford, 444 U.S. 69, 77 n.7 (1979).

                   What is more, each subsection of section 10102(a) begins

       with one or two verbs that define the authority imbued in the

       Assistant AG.       See, e.g., 34 U.S.C. § 10102(a)(1) (directing

       Assistant AG to "publish and disseminate" certain information);

       id.   § 10102(a)(5)     (directing      Assistant    AG   to   "coordinate     and

       provide staff support" to OJP components).                Section 10102(a)(6)

       starts with the verb "exercise."          Id. § 10102(a)(6).        Accordingly,

       the most natural reading of this provision is one conferring on

       the Assistant AG only the limited authority to "exercise such other

       powers and functions as may be vested in the Assistant Attorney

       General pursuant to this chapter or by delegation of the Attorney

       General."   The DOJ's more ambitious reading of section 10102(a)(6)

       conflicts   with   the    provision's     plain     meaning    by   interpreting

       "placing" as a second verb that gives the Assistant AG additional

       power.    Unlike play-doh, the text of a statute cannot be molded

       into an infinite number of shapes and sizes to suit the needs of


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       particular moments.      Here, the statutory language simply does not

       say that the Assistant AG may "place" special conditions on all

       grants.

                      The statutory context surrounding section 10102(a)(6)

       likewise counsels in favor of the Cities' interpretation.                   See

       City of Philadelphia, 916 F.3d at 288; City of Chicago, 888 F.3d

       at 285; see also City of Los Angeles, 941 F.3d at 949 (Wardlaw,

       J., concurring in the judgment).             Section 10102(a) assigns six

       sets of duties and functions to the Assistant AG.              The first five

       encompass purely ministerial responsibilities, such as providing

       information to various recipients, liaising with certain private

       and public entities, and coordinating the operations of the OJP.

       See 34 U.S.C. § 10102(a)(1)-(5).         Given the canon of noscitur a

       sociis, we are hesitant to interpret the sixth and final subsection

       to grant wide-ranging substantive authority to the Assistant AG to

       impose special conditions on Byrne JAG grants at his discretion

       when     the     neighboring   provisions      confer     only     ministerial

       responsibilities upon him. If Congress meant to give the Assistant

       AG the wide-ranging discretionary authority envisioned by the DOJ,

       we think it would have done so in clearer terms and in a more

       prominent place in the statute.              See Whitman v. Am. Trucking

       Ass'ns, 531 U.S. 457, 468 (2001) ("Congress . . . does not alter

       the fundamental details of a regulatory scheme in vague terms or

       ancillary provisions — it does not, one might say, hide elephants


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       in mouseholes."). Examples of more explicit language that Congress

       could have employed to give the Assistant AG the power to impose

       conditions abound in statutes that authorize other grant programs.

       See,     e.g.,   34    U.S.C.     § 10142(2)     (tasking     DOJ    official        with

       "awarding    and      allocating     funds . . .     on     terms   and      conditions

       determined . . .        to   be      consistent"     with     the    statute);       id.

       § 10446(e)(3) ("In disbursing grants under this subchapter, the

       Attorney General may impose reasonable conditions on grant awards

       to ensure that the States meet statutory, regulatory, and other

       program requirements.").

                    An additional point is worth mentioning.                        The DOJ's

       proposed    construction        of    section    10102(a)(6)        is   —    like   its

       interpretation of the Byrne JAG statute, see supra Part II(A) —

       inconsistent with the formulaic nature of the grant program.                         See

       City of Chicago, 888 F.3d at 286; see also City of Los Angeles,

       941 F.3d at 949-50 (Wardlaw, J., concurring in the judgment). This

       inconsistency is especially hard to ignore here; even the wide-

       ranging authority that the DOJ purports to find in the Byrne JAG

       statute covers only a few limited categories of potential grant

       conditions (for instance, information-reporting requirements under

       section 10153(a)(4) or certification of compliance with other

       federal laws under section 10153(a)(5)(D)).                  By contrast, the DOJ

       claims that section 10102(a)(6) authorizes it to impose any and

       all conditions that it deems relevant to a grant program and to


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       withhold entire grants for noncompliance.               Were such discretion

       vested in the DOJ, Byrne JAG would no longer function as a formula

       grant program.

                      To cinch the matter, Congress added the "including"

       language to section 10102(a)(6) in 2006 in the same bill that

       established the current Byrne JAG formula.             Yet the bill contained

       no cross-reference between the two sections.             See Violence Against

       Women    and    Department   of   Justice     Reauthorization     Act    §§ 1111,

       1152(b); see also City of Chicago, 888 F.3d at 286.                Had Congress

       wanted to authorize the DOJ to deviate from the statutory formula

       so drastically, we would expect to see a more direct statement to

       that effect.

                      The DOJ's arguments for reading section 10102(a)(6) as

       an independent grant of statutory authority to impose special

       conditions are unavailing.        Invoking the canon against surplusage,

       the DOJ contends that accepting the Cities' construction would

       render   the     "including"   language     meaningless     because      no   other

       statute gives the Assistant AG (or any other DOJ functionary) the

       power to impose special conditions on any Byrne JAG grant.                     The

       presumption       against    treating     the    "including"       language      as

       surplusage has particular force here, the DOJ suggests, because a

       court should presume that Congress intended its 2006 amendment "to

       have real and substantial effect."              Stone v. INS, 514 U.S. 386,

       397 (1995).


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                     A divided panel of the Ninth Circuit relied on this

       reasoning       to   hold    that   section     10102(a)(6)    "confirm[s]        the

       authority of DOJ to place 'special conditions on all grants.'"8

       City of Los Angeles, 941 F.3d at 939.             We do not agree.         The plain

       meaning of a statute is the best evidence of Congress's intent.

       See Boivin v. Black, 225 F.3d 36, 40 (1st Cir. 2000).                           As we

       already have explained, the statutory language that Congress chose

       to employ simply does not demonstrate an intent to give the

       Assistant AG independent statutory authority to impose special

       conditions.

                     In all events, there is less to the DOJ's argument that

       the canon against surplusage supports its position than meets the

       eye.       Although we aspire to give statutory language more than an

       illustrative function when the plain meaning of the text admits,

       we recognize that sometimes "Congress may consider a specific point

       important or uncertain enough to justify a modicum of redundancy."

       Mass. Ass'n of HMOs v. Ruthardt, 194 F.3d 176, 181 (1st Cir. 1999).

       The canon against surplusage is not a straitjacket.                       It should

       not,       therefore,   be    employed   inflexibly      to    rule       out   every




              8
              Even so, the panel went on to invalidate the notice and
       access conditions on the ground that they did not constitute
       "special conditions." See City of Los Angeles, 941 F.3d at 944.
       Concurring in the judgment, Judge Wardlaw concluded — as we do now
       — that section 10102(a)(6) is not an independent grant of statutory
       authority to the Assistant AG to impose special conditions. See
       id. at 945-46 (Wardlaw, J., concurring in the judgment).


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       interpretation     of   a   statute    that    treats    certain     language       as

       illustrative or clarifying.       See id.; see also Ali v. Fed. Bureau

       of Prisons, 552 U.S. 214, 226 (2008).             In view of the unambiguous

       language of section 10102(a)(6), Congress's 2006 amendment appears

       calculated to remove any doubt that the Assistant AG may place

       special conditions on all grants whenever this power is vested in

       him by statute or by delegation of the Attorney General.

                  Here,    moreover,    the     canon     against    surplusage       is   a

       double-edged sword. The DOJ's reading of section 10102(a)(6) would

       itself   render    meaningless    the     numerous       provisions       in   other

       statutes that authorize the agency to withhold set percentages of

       awards for specific purposes.          See City of Los Angeles, 941 F.3d

       at 951 (Wardlaw, J., concurring in the judgment).                         Why, for

       example, would Congress have bothered to specify that the DOJ may

       withhold up to ten percent of a Byrne JAG grant from a state that

       fails to report the deaths of individuals in custody, see 34 U.S.C.

       § 60105(c)(2), if section 10102(a)(6) allowed it to withhold the

       entire grant for the same reason through the imposition of a

       special condition?      We think it much more probable that Congress

       intended the word "including" to be illustrative or clarifying

       than that Congress gave the DOJ authority that would undercut, by

       implication, so many other statutory provisions.

                  Specifically, we believe that Congress meant to clarify

       that the Assistant AG, when vested with such authority pursuant to


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       statute or through delegation by the Attorney General, may impose

       individualized special conditions on an award to a high-risk

       grantee to ensure compliance with the existing terms of the award.

       At the time Congress amended section 10102(a)(6), a DOJ regulation

       authorized the agency to impose "special conditions" on a grant to

       a state or local government if the grantee was "high risk."                         28

       C.F.R. § 66.12(a)(5) (2006) (repealed 2014).                      A state or local

       government was considered "high risk" if it had financial or

       managerial problems or difficulty adhering to the terms of prior

       grants.     See id. § 66.12(a).          The special conditions that the DOJ

       could    impose      on   an    award    to    a    high-risk     grantee     included

       restrictions on the disbursement of grant funds, "[a]dditional

       project       monitoring,"       demands      for     "more    detailed      financial

       reports," and requirements that a grantee "obtain technical or

       management assistance."            Id. § 66.12(b).            Identical regulations

       governed grantmaking by several other federal agencies. See, e.g.,

       7    C.F.R.     § 3016.12       (2006)     (repealed      2014)    (Department      of

       Agriculture); 34 C.F.R. § 80.12 (2006) (repealed 2014) (Department

       of Education); see also Uniform Administrative Requirements for

       Grants and Cooperative Agreements to State and Local Governments,

       53   Fed.     Reg.   8034      (Mar.    11,   1988)    (adopting     uniform     grant

       regulations for over twenty federal agencies).

                     We assume — in the absence of some indication to the

       contrary — that when Congress uses a term of art, it intends the


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       term to carry its established meaning.          See McDermott Int'l, Inc.

       v. Wilander, 498 U.S. 337, 342 (1991).          Because Congress did not

       define "special conditions" as used in section 10102(a)(6), we

       construe the term to refer to the type of individualized grant

       conditions for high-risk grantees authorized by 28 C.F.R. § 66.12

       and its sister regulations.       See City of Los Angeles, 941 F.3d at

       941, 944 (defining "special conditions" in section 10102(a)(6) as

       "conditions placed on grants to grantees that exhibit certain risk

       factors    or   have   idiosyncratic   issues   that    must       be   addressed

       individually").

                   This   construction     finds    support    in     a    neighboring

       provision in the same 2006 legislation.            That provision directs

       the new Office of Audit, Assessment, and Management — which is

       tasked with ensuring compliance with various DOJ-administered

       grants — to "take special conditions of the grant into account."

       34 U.S.C. § 10109(a)(2); see Violence Against Women and Department

       of Justice Reauthorization Act § 1158.          The clear implication of

       this provision is that Congress intended for the term "special

       conditions" to refer to individualized requirements imposed on a

       specific grant.        See City of Los Angeles, 941 F.3d at 941; see

       also United States v. Nippon Paper Indus. Co., 109 F.3d 1, 4 (1st

       Cir. 1997) ("It is a fundamental interpretive principle that

       identical words or terms used in different parts of the same act

       are intended to have the same meaning.").


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                    Subsequent to the repeal of 28 C.F.R. § 66.12 in 2014,

       the DOJ's authority to impose individualized conditions on awards

       to high-risk grantees derives from 2 C.F.R. § 200.207.                       See 2

       C.F.R. § 2800.101 (adopting 2 C.F.R. part 200 for DOJ grants).

       This     regulation    describes   these      individualized     conditions      as

       "specific award conditions."        Id. § 200.207(a).        Here, however, we

       have no occasion to decide whether section 10102(a)(6) permits the

       Assistant AG to exercise delegated authority from the Attorney

       General to impose "specific award conditions" on Byrne JAG grants:

       the DOJ does not argue that the challenged conditions constitute

       "specific award conditions" authorized by 2 C.F.R. § 200.207.                   See

       United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) ("[I]ssues

       adverted to in a perfunctory manner, unaccompanied by some effort

       at developed argumentation, are deemed waived.").                    And in all

       events, the challenged conditions, which the DOJ has imposed as

       program-wide requirements for all Byrne JAG grants, are not special

       conditions     under    section    10102(a)(6)      because     they      are   not

       individualized requirements for high-risk grantees.                 See City of

       Los Angeles, 941 F.3d at 942, 944.

                    The DOJ offers yet another line of argument.                To bolster

       its reading of section 10102(a)(6), it relies on a statement in

       the legislative history indicating that the 2006 amendment "allows

       the Assistant Attorney General to place special conditions on all

       grants."     H.R. Rep. No. 109-233, at 101 (2005).            This reliance is


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       mislaid.       The cited statement does not provide an unmistakable

       indication of congressional intent such as might lead us to

       disregard the plain meaning of the statutory text.                         See Charles

       George Trucking Co., 823 F.2d at 688. Although section 10102(a)(6)

       allows the Assistant AG to place special conditions on grants in

       certain circumstances, the legislative history tells us nothing

       about Congress's intent as to the nature and extent of those

       circumstances.      Given the plain meaning of the statutory language,

       the formulaic nature of the Byrne JAG program, and Congress's use

       of "special conditions" as a term of art, we have no reason to

       believe that Congress meant to give the DOJ virtually unfettered

       authority to impose whatever grant conditions it deems warranted.

                      Finally,   the   DOJ     compiles        a     compendium       of     other

       requirements, all of which it has styled as "special conditions"

       and imposed on Byrne JAG grants since the inception of the program.

       It boasts that these conditions have been neither questioned by

       Congress nor challenged by grant recipients.                    This is thin gruel:

       the lawfulness of these other special conditions is well beyond

       the scope of this appeal.          And to the extent that the DOJ argues

       that     its    longstanding    practice         must       signify,    through       some

       mysterious       alchemy,   that      section      10102(a)(6)         gives     it    the

       authority to impose special conditions on Byrne JAG grants at its

       discretion, we disagree.        An agency's implementation of a statute

       has scant value in determining the actual authority that the


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       statute confers upon the agency, at least where — as here — the

       plain text of the statute contradicts the agency's praxis.                See

       Rapanos v. United States, 547 U.S. 715, 752 (2006) (plurality

       opinion).   The DOJ cannot take by adverse possession the authority

       to impose special conditions in a way that shields the devaluation

       of statutory language from judicial review.          See id.

                   Nor does the bare fact that Congress in 2016 codified

       requirements related to body armor that the DOJ had previously

       imposed as special conditions on Byrne JAG grants, see 34 U.S.C.

       § 10202(c), bolster the DOJ's adverse possession argument.                 We

       find no support for the inference that Congress, through this

       codification, meant to endorse the DOJ's expansive view of the

       scope of its own statutory authority.

                   To say more would be to paint the lily.             We conclude

       that section 10102(a)(6) authorizes the imposition of special

       conditions on Byrne JAG grants only to the extent that such power

       is "vested in the Assistant Attorney General pursuant to this

       chapter or by delegation of the Attorney General."            The provision

       does not constitute an independent grant of authority to the

       Assistant AG to impose whatever conditions he may deem advisable

       based on the nature of the grant program.        And because the DOJ has

       failed to identify either another statute that vests authority in

       the Assistant AG to impose the challenged conditions or any valid




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       delegation of such authority from the Attorney General, section

       10102(a)(6), by itself, cannot authorize those conditions.9

       III. CONCLUSION

                   We need go no further. When the federal government deals

       with state and local governments, it must turn square corners.

       Here, the DOJ took an impermissible shortcut when it attempted to

       impose the challenged conditions on the Cities' FY2017 Byrne JAG

       grants — conditions that Congress had not vested the DOJ with

       authority to impose.     Consequently, the judgment of the district

       court is



       Affirmed.




            9 Because we conclude that the DOJ lacked statutory authority
       to impose the challenged conditions, we do not attempt to assess
       the merits of the several other arguments — including arguments
       that the imposition of the challenged conditions was arbitrary and
       capricious and that the challenged conditions violate the Spending
       Clause — advanced by the Cities.


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